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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                               )
             In re:                                                            )   Chapter 11
                                                                               )
             PROTERRA INC, et al.,1                                            )   Case No. 23-11120 (BLS)
                                                                               )
                                       Debtors.                                )   (Jointly Administered)
                                                                               )
                                                                               )   Re: Docket No. 218

             NOTICE OF BIDDING PROCEDURES, AUCTION DATE, AND POTENTIAL SALES

                 PLEASE TAKE NOTICE that, on August 7, 2023, Proterra Inc and Proterra Operating
         Company, Inc. (collectively, the “Debtors” or the “Company”) filed voluntary petitions for relief
         under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), in the United
         States Bankruptcy Court for the District of Delaware (the “Court”).

                 PLEASE TAKE FURTHER NOTICE that, on August 8, 2023, the Debtors filed the
         Debtors’ Motion for Entry of: (I) an Order (A) Approving Bidding Procedures to Govern the Sale
         of All Or Substantially All of the Debtors’ Assets Pursuant to Section 363 of the Bankruptcy Code,
         (B) Approving Procedures Regarding Entry Into One or More Stalking Horse Agreements,
         (C) Establishing Procedures for the Assumption and Assignment of Executory Contracts and
         Unexpired Leases, (D) Approving the Form and Manner of the Notice of Assumption and
         Assignment of Executory Contracts and Unexpired Leases, (E) Scheduling Auctions for the Sales
         of the Company Assets and Hearings to Consider Approval of the Sales and Approving the Form
         and Manner of the Notice Thereof, (F) Approving Certain Wind-Down Procedures, and
         (G) Granting Related Relief; and (II) an Order (A) Authorizing and Approving the Debtors’ Entry
         Into One or More Asset Purchase Agreements, (B) Authorizing the Sale of All or Substantially All
         of the Debtors’ Assets Free and Clear of Liens, (C) Approving the Assumption and Assignment of
         the Assumed Executory Contracts and Unexpired Leases, and (D) Granting Related Relief [Docket
         No. 36] (the “Motion”).

                 PLEASE TAKE FURTHER NOTICE that, on September 7, 2023, the Court entered that
         certain Order (A) Approving Bidding Procedures to Govern the Sale of All Or Substantially All of
         the Debtors’ Assets Pursuant to Section 363 of the Bankruptcy Code, (B) Approving Procedures
         Regarding Entry Into One or More Stalking Horse Agreements, (C) Establishing Procedures for
         the Assumption and Assignment of Executory Contracts and Unexpired Leases, (D) Approving the
         Form and Manner of the Notice of Assumption and Assignment of Executory Contracts and
         Unexpired Leases, (E) Scheduling Auctions for the Sales of the Company Assets and Hearings to
         Consider Approval of the Sales and Approving the Form and Manner of the Notice Thereof, and
         (F) Granting Related Relief [Docket No. 218] (the “Bidding Procedures Order”),2 which approved,

         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
               number, are as follows: Proterra Inc (1379); and Proterra Operating Company, Inc. (8459). The location of the
               Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
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               Capitalized terms used but not defined have the meanings ascribed to them in the Bidding Procedures Order.
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         among other things, (a) procedures pursuant to which the Debtors are authorized to solicit and
         pursue (such procedures, the “Bidding Procedures”) one or more sales or dispositions of all or any
         portion of the Debtors’ assets (the “Company Assets”) under section 363 of the Bankruptcy Code
         (each, an “Asset Sale”) and any other type of strategic transaction involving the Debtors and/or
         the Company Assets, including, without limitation, a financing process for the potential raising of
         debt or equity financing through a chapter 11 plan of reorganization and/or a chapter 11 plan of
         reorganization proposed by the Cowen Parties, as holders of the Second Lien Convertible Notes,
         premised upon the preservation of the Debtors’ net operating losses upon their emergence from
         these chapter 11 cases (any of the immediately foregoing, a “Recapitalization Transaction”, and,
         any of the foregoing, including an Asset Sale, a “Potential Transaction”), (b) the scheduling of a
         hearing to approve (i) the Sale of the Track A Assets and (ii) the Sale of the Track B Assets, each
         free and clear of any liens, claims, and encumbrances under section 363 of the Bankruptcy Code,
         and (c) procedures in connection with the assumption and assignment of any executory contracts
         or unexpired leases the Debtors seek to have assumed and assigned in connection with a Potential
         Transaction. All interested bidders should carefully read the Bidding Procedures Order and the
         Bidding Procedures in their entirety.

                 PLEASE TAKE FURTHER NOTICE the Bidding Procedures provide for the
         consideration of Qualified Bids (as defined therein) to acquire substantially all of the Company’s
         assets or separate Bids to acquire portions of the Company Assets, to the extent that the
         consummation of such transactions maximizes value for stakeholders and can be accomplished
         efficiently.

                 PLEASE TAKE FURTHER NOTICE that all interested parties are invited to provide
         materials (as described in the Bidding Procedures) to apply to become a Potential Bidder (as
         defined in the Bidding Procedures) and submit a Bid in accordance with the Bidding Procedures
         and the Bidding Procedures Order. The Bidding Procedures provide information regarding the
         requirements for a Potential Bidder to be a “Qualified Bidder” and a bid to be a “Qualified Bid”
         for purposes of competing at an Auction (as defined below).

                  PLEASE TAKE FURTHER NOTICE that the deadline to submit a Qualified Bid for
         (i) the Track A Assets is October 16, 2023 at 4:00 p.m. (prevailing Eastern Time) (the “Track
         A Bid Deadline”) and (ii) the Track B Assets is November 6, 2023 at 4:00 p.m. (prevailing
         Eastern Time) (the “Track B Bid Deadline” and, together with the Track A Bid Deadline, the
         “Bid Deadlines”). Pursuant to the Bidding Procedures Order, in the event that the Debtors timely
         receive one or more Qualified Bids other than one from the Stalking Horse Bidders, if any, the
         Debtors are authorized to conduct an auction (the “Auction”) for the Track A Assets and the Track
         B Assets, respectively, in accordance with the Bidding Procedures Order. The Auctions, if held,
         will occur (i) for the Track A Assets, on October 19, 2023 at 10:00 a.m. (prevailing Eastern
         Time) and (ii), for the Track B Assets, on November 9, 2023 at 10:00 a.m. (prevailing Eastern
         Time) at the offices of Paul, Weiss, Rifkind, Wharton & Garrison LLP, New York, New York or
         such other location as shall be timely communicated to all entities entitled to attend each respective
         Auction. Only (a) Qualified Bidders (including the Stalking Horse Bidder, if any) and their legal
         and financial advisors, (b) the Consultation Parties, and (c) actual creditors of the Debtors
         (provided that they give at least three (3) business days’ notice to the Debtors’ counsel and the
         Committee’s counsel of their intention to attend an Auction via email to Paul, Weiss, Rifkind,
         Wharton & Garrison LLP (Attn: Joshua A. Esses (jesses@paulweiss.com) and Vida Robinson
         (virobinson@paulweiss.com)) and (ii) Lowenstein Sandler LLP (Attn: Jeffrey Cohen
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         (jcohen@lowenstein.com), Eric Chafetz (echafetz@lowenstein.com), Jordana Renert
         (jrenert@lowenstein.com), and Keara Waldron (kwaldron@lowenstein.com)), shall be entitled to
         attend an Auction. If an Auction is cancelled, the Debtors shall file a notice of cancellation of the
         Auction.

                  PLEASE TAKE FURTHER NOTICE that objections, if any, to any Sales (the “Sale
         Objections”), shall be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and
         the Local Rules of Practice and Procedure for the United States Bankruptcy Court for the District
         of Delaware, shall set forth the name of the objecting party, the nature and amount of any claims
         or interests held or asserted against the Debtors’ estate or properties, the basis for the objection,
         and the specific grounds therefore, and shall be filed and served upon the following so that such
         objections are received by October 16, 2023 at 4:00 p.m. (prevailing Eastern Time) (the “Sale
         Objection Deadline”) by: (a) counsel for the Debtors, (i) Paul, Weiss, Rifkind, Wharton & Garrison
         LLP, 1285 Avenue of the Americas, New York, New York 10019 (Attn. Paul Basta
         (pbasta@paulweiss.com) and Robert Britton (rbritton@paulweiss.com)), and (ii) Young Conaway
         Stargatt & Taylor LLP, 1000 North Street, Wilmington, Delaware, 19801 (Attn: Pauline K.
         Morgan (pmorgan@ycst.com) and Andrew L. Magaziner (amagaziner@ycst.com)); (b) the Office
         of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Wilmington,
         Delaware, 19801 (Attn: Linda J. Casey (linda.casey@usdoj.gov)); (c) counsel for the Committee,
         (i) Lowenstein Sandler LLP (Attn: Jeffrey Cohen (jcohen@lowenstein.com), Eric Chafetz
         (echafetz@lowenstein.com), Jordana Renert (jrenert@lowenstein.com), and Keara Waldron
         (kwaldron@lowenstein.com)) and (ii) Morris James LLP (Attn: Eric Monzo
         (emonzo@morrisjames.com) and Brya Keilson (bkeilson@morrisjames.com)); and (d) the Notice
         Parties.

                 PLEASE TAKE FURTHER NOTICE that, for each Auction that is held, if any, the
         deadline to object only to (i) the conduct at the Auction or (ii) solely with respect to the Non-
         Debtor Counterparties to the Contracts, to the specific identity of and adequate assurance of future
         performance provided by the Successful Bidder (only if such Successful Bidder is not the Stalking
         Horse Bidder) (such a limited objection, a “Post-Auction Objection”) is (a) the later of October
         27, 2023 at 4:00 p.m. (prevailing Eastern Time) or within one day of the filing of the notice of
         the Successful Bidder with respect to the Track A Sale Hearing and (b) the later of November 17,
         2023 at 4:00 p.m. (prevailing Eastern Time) or within one day of the filing of the notice of the
         Successful Bidder with respect to the Track B Sale Hearing (these deadlines, together, the “Post-
         Auction Objection Deadlines”). A Post-Auction Objection must be filed with this Court and
         served in the same manner as Sale Objections set forth above so to be actually received no later
         than the Post-Auction Objection Deadline.

                 PLEASE TAKE FURTHER NOTICE that failure of any entity to file an objection on or
         before the Sale Objection Deadline or applicable Post-Auction Objection Deadline shall be
         deemed to constitute consent to the sale of the Company Assets to the Successful Bidder and the
         other relief requested in the Motion, and be a bar to the assertion, at the applicable Sale Hearing
         or thereafter, of any objection to the Motion, the applicable Auction, the applicable Sale, or the
         Debtors’ consummation and performance of the terms of the applicable Definitive Purchase
         Agreement.

                 PLEASE TAKE FURTHER NOTICE that the Bidding Procedures Order provides that
         a hearing to approve the Sale of (a) the Track A Assets to the Successful Bidder therefor shall take
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         place on November 1, 2023 at 10:00 a.m. (prevailing Eastern Time), and (b) the Track B Assets
         to the Successful Bidder therefor shall take place on November 28, 2023 at 10:00 a.m. (prevailing
         Eastern Time) (these hearings, together, the “Sale Hearings”). The Sale Hearings will be held
         before the Honorable Brendan L. Shannon, at the United States Bankruptcy Court for the District
         of Delaware, 824 Market Street, 6th Floor, Wilmington, DE 19801.

                For ease of reference, the following chart has been included to summarize key dates
         relevant to this notice:3

                                                                                 Proposed Dates/Deadlines

                          Deadline/Event
                                                                         Track A Bids                   Track B Bids


                                                                      1 business day after entry of Bidding Procedures
       Service and Publication of Sale Notice
                                                                     Order or as soon as reasonably practicable thereafter

       Debtors’ Deadline to File a Proposed Form of
                                                                       Monday, September 25, 2023 @ 4:00 p.m. (ET)
       Sale Order


       Debtors’ Deadline to File and Serve Cure Notices                         Monday, September 25, 2023


       Initial Indication of Interest (“IOI”) Deadline                 Tuesday, September 26, 2023 @ 4:00 p.m. (ET)

       Sale Objection Deadline                                          Monday, October 16, 2023 @ 4:00 p.m. (ET)

       Cure/Assignment Objection Deadline                               Monday, October 16, 2023 @ 4:00 p.m. (ET)

       Qualified Bid Submission Deadline (can be
                                                                      Monday, October 16,          Monday, November 6,
       extended at Debtors’ discretion, in consultation
                                                                     2023 @ 4:00 p.m. (ET)         2023 @ 4:00 p.m. (ET)
       with the Consultation Parties)

                                                                      Wednesday, October         Wednesday, November 8,
       Determination of Qualified Bids
                                                                          18, 2023                       2023

                                                                    Thursday, October 19,         Thursday, November 9,
       Auction (if necessary)
                                                                   2023 @ 10:00 a.m. (ET)         2023 @ 10:00 a.m. (ET)

                                                                       Friday, October 20,          Friday, November 10,
       Identification of Successful Bidder and Backup                  2023 (or as soon as           2023 (or as soon as
       Bidder, if any                                                reasonably practicable        reasonably practicable
                                                                           thereafter)                   thereafter)

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             All dates, times, and deadlines are subject to change or modification in accordance with the Bidding Procedures
             Order.
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                                                                         Proposed Dates/Deadlines

                        Deadline/Event
                                                                 Track A Bids                Track B Bids


                                                               The later of Friday,        The later of Friday,
                                                                October 27, 2023           November 17, 2023
                                                              @ 4:00 p.m. (ET) or         @ 4:00 p.m. (ET) or
       Post-Auction Objection Deadline
                                                             within one day of the        within one day of the
                                                           filing of the notice of the    filing of the notice of
                                                               Successful Bidder            Successful Bidder

                                                                                         Wednesday, November
                                                            Monday, October 30,
       Deadline to File Replies in Connection with Sale                                  22, 2023 @ 10:00 a.m.
                                                           2023 @ 10:00 a.m. (ET)
                                                                                                  (ET)

                                                              Wednesday, November        Tuesday, November 28,
       Sale Hearing                                            1, 2023 @ 10:00 am        2023 @ 10:00 a.m. (ET)
                                                                       (ET)

                                                              As soon as reasonably       As soon as reasonably
       Closing Date                                           practicable following       practicable following
                                                              entry of a Sale Order       entry of a Sale Order


                 PLEASE TAKE FURTHER NOTICE that this notice is subject to the full terms and
         conditions of the Motion, the Bidding Procedures Order, and the Bidding Procedures, and the
         Debtors urge parties in interest to review such documents in their entirety. Copies of the Motion,
         the Stalking Horse Agreements, if any, the Bidding Procedures, and the Bidding Procedures Order,
         in addition to any related documents that may be filed, may be obtained by accessing (a) the
         website of the Debtors’ notice and claims agent, Kurtzman Carson Consultants LLC (“KCC”), at
         www.kccllc.net/proterra      for     no     charge,   or    (b) the    Court’s    internet    site:
         https://ecf.deb.uscourts.gov, for a fee, through an account obtained from the PACER website at
         http://pacer.psc.uscourts.gov. The documents also may be obtained from the Debtors’ claims and
         notice agent, KCC, at 888-251-3076 (USA or Canada) or 310-751-2617 (International).

                CONSEQUENCES OF FAILING TO TIMELY FILE AND SERVE A SALE
                                      OBJECTION

              ANY PARTY OR ENTITY THAT FAILS TO TIMELY FILE AND SERVE AN
         OBJECTION ON OR BEFORE THE SALE OBJECTION DEADLINE OR APPLICABLE
         POST-AUCTION OBJECTION DEADLINE, AS APPLICABLE, IN ACCORDANCE
         WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
         ASSERTING ANY OBJECTION TO SUCH SALE, INCLUDING WITH RESPECT TO
         THE TRANSFER OF THE COMPANY ASSETS OF THE DEBTORS FREE AND CLEAR
         OF LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS AFFECTED
         THEREUNDER.

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              IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
         COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
         FURTHER NOTICE OR HEARING. ANY CREDITOR THAT RECEIVES NOTICE OF
         A SALE HEARING AND FAILS TO TIMELY FILE AN OBJECTION TO THE SALE ON
         OR BEFORE THE APPLICABLE OBJECTION DEADLINE IN ACCORDANCE WITH
         THE BIDDING PROCEDURES ORDER SHALL BE DEEMED TO HAVE CONSENTED
         UNDER SECTION 363(F)(2) OF THE BANKRUPTCY CODE TO SUCH SALE FREE
         AND CLEAR OF SUCH CREDITOR’S LIEN, CLAIMS, ENCUMBRANCES, OR
         INTERESTS, IF ANY.

             Dated: September 7, 2023         Respectfully submitted,
                    Wilmington, Delaware
                                              YOUNG CONAWAY STARGATT &
                                              TAYLOR, LLP

                                              /s/ Shella Borovinskaya
                                              Pauline K. Morgan (No. 3650)
                                              Andrew L. Magaziner (No. 5426)
                                              Shella Borovinskaya (No. 6758)
                                              Rodney Square
                                              1000 North King Street
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 571-6600
                                              Facsimile: (302) 571-1253
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                                                       amagaziner@ycst.com
                                                       sborovinskaya@ycst.com

                                                      - and -

                                              PAUL, WEISS, RIFKIND,
                                              WHARTON & GARRISON LLP
                                              Paul M. Basta (admitted pro hac vice)
                                              Robert A. Britton (admitted pro hac vice)
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                                              Counsel to the Debtors and
                                              Debtors in Possession



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